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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-00252
JOSEPH LINO PADILLA : VIOLATIONS:
also known as “Jose Padilla, : 18 U.S.C. §§ 111(a)q)
:  (Assaulting, Resisting, or Impeding
Defendant. : Certain Officers)
: 18 U.S.C. § 231(a))
(Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE

On or about January 6, 2021, at or around 1:37 p.m. to 1:39 p.m., within the District of
Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla” did forcibly assault, resist,
oppose, impede, intimidate, and interfere with an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
and any person assisting such an officer and employee, while such person was engaged in and on
account of the performance of official duties, and where the acts in violation of this section involve
physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Sections 111(a)(1))

COUNT TWO

On or about January 6, 2021, at or around 1:37 p.m. to 1:39 p.m., within the District of
Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla” committed and attempted
to commit an act to obstruct, impede, and interfere with a law enforcement officers lawfully
engaged in the lawful performance of their official duties incident to and during the commission
of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected the conduct
and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT THREE

On or about January 6, 2021, at or around 1:39 p.m. to 1:41 p.m., within the District of
Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla” using a deadly or dangerous
weapon, that is, a large metal sign, did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States

Government (including any member of the uniformed services), and any person assisting such an
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officer and employee, while such officer or employee was engaged in or on account of the
performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT FOUR
On or about January 6, 2021, at or around 1:39 p.m. to 1:41 p.m., within the District of
Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla” committed and attempted
to commit an act to obstruct, impede, and interfere with a law enforcement officers lawfully
engaged in the lawful performance of their official duties incident to and during the commission
of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected the conduct
and performance of a federally protected function.
(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT FIVE
On or about January 6, 2021, at or around 4:47 p.m. to 4:49 p.m., within the District of
Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla” using a deadly or dangerous
weapon, that is, a flagpole, did forcibly assault, resist, oppose, impede, intimidate, and interfere
with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, while such officer or employee was engaged in or on account of the
performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))
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COUNT SIX

On or about January 6, 2021, at or around 4:47 p.m. to 4:49 p.m., within the District of
Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla” committed and attempted
to commit an act to obstruct, impede, and interfere with a law enforcement officers lawfully
engaged in the lawful performance of their official duties incident to and during the commission
of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected the conduct
and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia and elsewhere, JOSEPH
LINO PADILLA, also known as “Jose Padilla” attempted to, and did, corruptly obstruct,
influence, and impede an official proceeding, that is, a proceeding before Congress, by entering
and remaining in the United States Capitol without authority and committing an act of civil
disorder, and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, JOSEPH LINO PADILLA,
also known as “Jose Padilla” did unlawfully and knowingly enter and remain in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

United States Capitol and its grounds, where the Vice President and Vice President-elect were
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temporarily visiting, without lawful authority to do so, and, during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a flagpole and a metal sign.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))
COUNT NINE
On or about January 6, 2021, within the District of Columbia, JOSEPH LINO PADILLA,
also known as “Jose Padilla” did knowingly, and with intent to impede and disrupt the orderly
conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting, when and so that such
conduct did in fact impede and disrupt the orderly conduct of Government business and official
functions, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a flagpole and a large metal sign.
(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
1752(a)(2) and (b)(1)(A)
COUNT TEN
On or about January 6, 2021, within the District of Columbia, JOSEPH LINO PADILLA,
also known as “Jose Padilla” did knowingly, engage in any act of physical violence against any
person and property in a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President
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and Vice President-elect were temporarily visiting, and, during and in relation to the offense, did
use and carry a deadly and dangerous weapon, that is, a flagpole and a large metal sign.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b))(A)
COUNT ELEVEN

On or about January 6, 2021, within the District of Columbia, JOSEPH LINO PADILLA,
also known as “Jose Padilla” willfully and knowingly engaged in disorderly and disruptive conduct
in any of the Capitol Buildings and its grounds with the intent to impede, disrupt, and disturb the
orderly conduct of a session of Congress and either House of Congress, and the orderly conduct in
that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(D))

COUNT TWELVE
On or about January 6, 2021, within the District of Columbia, JOSEPH LINO PADILLA,
also known as “Jose Padilla” willfully and knowingly engaged in an act of physical violence within
the United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

[ Prcd pe GPR
Attorney-of the United ‘States in
and for the District of Columbia.
